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                                IN THE UNITED STATES DISTRICT COURT
                                FOR THE NORTHERN DISTRICT OF TEXAS
                                        FORT WORTH DIVISION

                                     Alternative Dispute Resolution Summary


         Provider must file completed form, in duplicate, with the U.S. District Clerk upon completion of
         ADR.

    1. Civil Action number: 4:20-CV-01329
    2. Style of case: MARCO PUENTE V. BLAKE SHIMANEK ET AL
    3. Nature of suit: 440 Civil Rights: Other Civil Rights
    4. Method of ADR used:            Mediation            Mini-Trial                Summary Jury Trial
    5. Date ADR session was held: 1/22/2021
    6. Outcome of ADR (Select one):

          Parties did not use my services.               Settled, in part, as result of ADR
          Settled as a result of ADR.                    Parties were unable to reach settlement.
          Continue to work with parties to reach settlement (Note: provider must file supplemental ADR
         Summary Form at conclusion of his/her services)
    7. What was your TOTAL fee: $3,500.00
    8. Duration of ADR: FULL DAY (i.e., one day, two hours)
    9.   Please list persons in attendance (including party association, i.e., defendant, plaintiff):
         (Provider)


          James J. Juneau, Mediator                           Mark Hafner, Keller City Manager
          Marco Puente & Dillon Puente, Plaintiff & son       Stan Lowery, Keller City Attorney
          Scott H. Palmer, Esq., Plaintiff counsel            Brad Fortune, Keller Police Chief
          James P. Roberts, Esq., Plaintiff counsel           Imelda Torres, TML IRP
          Robert J. Davis, Esq., Defense counsel

    Please provide the names, addresses, and telephone number of counsel on the reverse of this form.

Provider information:


James J. Juneau
Signature                                                                January 24, 2021
                                                                         Date

12001 N. Central Expressway, Suite 650, Dallas, Texas 75243 (214)303-4500
Address                                                     Telephone
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